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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

TAYLOR LAWRENCE,

               Plaintiff,

v.                                                                  CASE NO.:

BLUE CROSS BLUE SHIELD
OF FLORIDA HEALTH OPTIONS,

               Defendant.

                                    NOTICE OF REMOVAL

       Defendant, Blue Cross and Blue Shield of Florida, Inc. ("BCBSF"), hereby files its

Notice of Removal containing a short and plain statement of the facts which entitle BCBSF to

removal as required by 28 U.S.C. §1446, and alleges:

        1.     On or about July 30, 2010, Plaintiff, Taylor Lawrence, commenced this action in

the Circuit Court, Fourth Judicial Circuit, in and for Duval County, Florida, under Case No. 10-

CA-009620, styled Lawrence Taylor. Plaintiff v. Blue Cross Blue Shield of Florida Health

Options, Defendant. Plaintiff served process on BCBSF on August 16, 2010.

       2.      In support of this Notice of Removal BCBSF is contemporaneously filing

herewith the affidavit of Sheri M. Deen ("Deen Affidavit"), which, along with its Exhibit, is

incorporated herein by reference.

       3.      Contemporaneously filed herewith is a copy of the Complaint filed by Plaintiff in

the State Court as well as copies of all process, pleadings, papers and orders, if any, now on file

in the State Court pursuant to 28 U.S.C. §1446 (a), and Local Rule 4.02, Rules of the United

States District Court for the Middle District of Florida.
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       4.      This Notice of Removal is being filed within thirty (30) days of receipt, through

service of process or otherwise, of a copy of the initial pleading setting forth the claim for relief

upon which this action or proceeding is based, and accordingly is filed by BCBSF in a timely

manner. 28 U.S.C. §1446 (b).

       5.      BCBSF removes this case pursuant to 28 U.S.C. §1446 as an action over which

this Court has original federal question jurisdiction under 28 U.S.C. §1331. The action raises

federal questions and is removable because the claims at issue are completely pre-empted by the

Employee Retirement Income Security Act of 1974, 29 U.S.C. §1001, et. seq. ("ERISA").

       6.      The Complaint sets forth that this is an action to recover health care benefits for

alleged medical services rendered to Plaintiff, which are alleged to be covered under an

employer provided group health insurance policy issued by BCBSF.

       7.      Based on Plaintiffs Complaint, BCBSF reviewed its records and identified the

corresponding healthcare plan pursuant to which benefit determinations were made. A review of

BCBSF's records shows that a group contract was issued by BCBSF to Door Control, Inc., a

private employer, for the purpose of providing health care expense coverage to its employees and

eligible dependents within the meaning of ERISA. See, Deen Affidavit at 1f4.

       8.      In addition, attached as Exhibit "1" to the Deen Affidavit is a copy of the Blue

Options Small Group Benefit Booklet, which outlines the coverage available to Plaintiff, and the

Group Summary Sheets showing the group's enrollment for the coverage period 2008 to present.

See, Deen Affidavit at ^5.

       9.      Employer-sponsored or employer-provided health care plans are governed

exclusively by ERISA. This federal Act "comprehensively regulates employee pension and
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welfare plans." Metropolitan Life Insurance Co. v. Massachusetts, 471 U.S. 724, 732, 105 S.Ct.

2380, 85 L.Ed. 2d 728 (1985).

        10.     An "employee welfare benefit plan" is defined at §1002(1) of Title 29 of ERISA

as follows:

        Any plan, fund, or program which was heretofore or is hereafter established or
        maintained by an employer ... to the extent that such plan, fund, or program was
        established or is maintained for the purpose of providing for its participants or
        their beneficiaries, for the purchase of insurance or otherwise (A) Medical,
        Surgical, or Hospital Care or Benefits in the event of sickness, accident,
        disability, death, or unemployment....

                                                                       (Emphasis supplied).


        11.     In Metropolitan Life Insurance Co. v. Taylor. 481 U.S. 58, 63-64, 95 L. Ed. 2d

55, 107 S.Ct. 1542, 1546-47 (1987), the Supreme Court held that a defendant may remove a state

cause of action to federal court if ERISA completely pre-empts the state claims. Here, Plaintiffs

claims for coverage are necessarily and exclusively based on an ERISA benefit plan. As the

Eleventh Circuit noted in Garren v. John Hancock Mutual Life Insurance Company, 114 F. 3d

186, 187 (11th Cir. 1997), "[a] party's state law claim 'relates to' an ERISA benefit plan for

purposes of ERISA pre-emption whenever the alleged conduct at issue is intertwined with the

refusal to pay benefits." Plaintiffs Complaint pleads a common law breach of contract claim and

relates to Blue Cross' alleged failure to pay for services pursuant to an ERISA plan. The damage

that Plaintiff alleges in her Complaint (i.e., the failure to pay) and the relief requested go directly

to the benefits available under the applicable plan.

        12.    This common law claim is clearly pre-empted by ERISA. Mullenix v. Aetna Life

& Casualty Co., 912 F.2d 1406 (11th Cir. 1990) (finding breach of contract action for failure to

pay insurance benefits was pre-empted by ERISA); Cromwell v. Equicor-Equitable HCA Corp.,
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944 F. 2d 1272, 1276 (6th Cir. 1991) (noting that "[i]t is not the label placed on a state law claim

that determines whether it is pre-empted, but whether in essence such a claim is for the recovery

of an ERISA plan benefit"); HCA Health Srvs. of Georgia, Inc. v. Employer's Health Insurance

Co.. 22 F. Supp. 2d 1390 (N.D.Ga. 1998), affd.. 240 F.3d 982 (11 th Cir. 2001) (finding

provider's claims for quantum meruit, open account, and stated account under Georgia common

law pre-empted by ERISA).

       13.     ERISA was designed to establish pension and welfare plan regulation "as

exclusively a federal concern". Alessi v. Ravbestos - Manhattan, Inc., 451 U.S. 504, 523, 101 S.

Ct. 1895, 68 L. Ed. 2d 402 (1981). Congress' intent is evidenced in the statutory provision of

ERISA which provides that ERISA shall supersede all state laws that "relate to" any employee

benefit plans described in the statute. 29 U.S.C. §1144(n). The United States Supreme Court

has described ERISA's pre-emption clause as "deliberately expansive," noting that Congress

"intended to insure that plans ... would be subject to a uniform body of benefit law" with the

goal of minimizing "the administrative and financial burden of complying with conflicting

directives among States." Ingersoll-Rand Co. v. McClendon, 498 U.S. 133, 142, 111 S.Ct. 478,

112L. Ed. 2d 474 (1990).

       14.     The United States Supreme Court more recently reaffirmed ERISA's strong

preemptive force in the case of Aetna Health Inc. v. Davila, 124 S.Ct. 2488 (2004). In Dayjla,

two individuals sued their Health Maintenance Organizations under a Texas medical malpractice

statute for payment for benefits not provided under the individuals' health care plans. The

individuals argued that the Texas statute was an independent state law claim unrelated to ERISA.

They further argued that they did not seek reimbursement for benefits denied them but rather tort

damages from breach of a statutorily imposed duty of ordinary care. 124 S.Ct. at 2493-94. The
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Fifth Circuit Court of Appeals had held that the claims were outside the scope of ERISA's

preemptive reach, and thus the cases should be remanded to state court. The Supreme Court

rejected this reasoning, and held that the individuals' causes of action, "brought to remedy only

the denial of benefits under ERISA-regulated benefit plans, fell within the scope of, and are

completely pre-empted by, ERISA § 502(a)(1)(B), and thus removable to federal district court."

124 S.Ct. at 2502.

       15.     In its analysis, the Davila Court held that the preemptive force of ERISA is

stronger than only preempting a state law cause of action that "duplicates, supplements, or

supplants the ERISA civil enforcement remedy." 124 S.Ct. at 2495. ERISA preempts state law

claims even if the remedies provided under those state laws are different or more extensive or if

the state law claims are not duplicative of ERISA. 124 S.Ct. at 2499.

       16.     The Davila Court disapproved of the circuit court's reasoning, that the individuals

were asserting "tort" claims rather than "breach of contract" claims based on ERISA. 124 S.Ct.

2498. "[Distinguishing between pre-empted and non-preempted claims based on the particular

label affixed to them would 'elevate form over substance and allow parties to evade' the pre-

emptive scope of ERISA simply 'by relabeling their contract claims as claims for tortious breach

of contract.'" 124 S.Ct. 2498. Thus, the Court held that where the suit is brought to rectify a

wrongful denial of benefits under an ERISA plan, the "relates to" requirement is satisfied

regardless of the label placed on the claim, and therefore ERISA completely preempted the state

law claims. 124 S.Ct. 2502.

       17.    There can be no doubt that a suit to recover benefits from an ERISA governed

plan falls directly under 29 U.S.C. §1132, which provides for an exclusive federal scheme of

civil enforcement of ERISA disputes. Ingersoll-Rand Co. v. McClendon, supra; Belasco v. WKP
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Wilson & Sons. Inc.. 833 F. 2d 277, 282 (11th Cir. 1987); Amos v. Blue Cross and Blue Shield of

Alabama. 868 F. 2d 430, 432 (11th Cir. 1989); Brown v. Connecticut General Life Insurance Co..

934 F. 2d 1193, 1195-96 (11th Cir. 1991).

        18.    In Brown v. Connecticut General Life Insurance Co.. the Eleventh Circuit

discussed the fact that the well-pleaded complaint rule does not apply when there is ERISA

"super pre-emption" and stated as follows:

       An exception to this rule is when Congress "so completely pre-empts" a particular
       area that any civil complaint raising the select group of claims is necessarily
       federal in character. The effect of this exception is to convert what would
       ordinarily be a state claim into a claim arising under the laws of the United States.
       This conversion of what would otherwise be state law claims into federal claims
       can be labeled "super pre-emption" to distinguish it from ordinary pre-emption,
       which does not have that effect.

       The Supreme Court has determined that ERISA "completely pre-empts" the area
       of employee benefit plans and thus converts the state law claims into federal
       claims when the state law is pre-empted by ERISA and also falls within the scope
       of the civil enforcement section of ERISA, Section 502 (a), 29 U.S.C. §1132 (a).

                                                      934 F. 2d at 1196 (citations omitted).


        19.    In Williams v. Wright. 927 F.2d 1540 (11th Cir. 1991), the Eleventh Circuit held

that an ERISA plan "is established if from the surrounding circumstances a reasonable person

can ascertain the intended benefits, a class of beneficiaries, the source of financing, and the

procedures for receiving benefits." 920 F. 2d at 1543 (quoting Donovan v. Dillingham, 688 F.

2d 1367 (11th Cir. 1982) (en banc)). See also. Randol v. Mid-West Nat'l Life Ins. Co.. 987 F. 2d

1547, 1550-51 n. 5) (11 th Cir. 1993) ("commercially purchased insurance policy under which the

procedures of receiving benefits are all dictated by the insurance carrier can constitute a plan for

ERISA purposes").
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       20.     In that the group plan involved in this matter was established by a private

employer for the purpose of providing health care expense benefits to its employees, the claim

here falls within the ambit of ERISA, and thus removal of the state action is clearly permitted.

       21.     As this action is properly removed from State court pursuant to 28 U.S.C.

§1441(b) as a civil action in which this Court has original jurisdiction founded on a claim arising

under the laws of the United States, it is removable without regard to the citizenship of the

parties or the amount in controversy.

       22.     A copy of this Notice of Removal has been contemporaneously filed with the

Circuit Court of the Fourth Judicial Circuit in and for Duval County, Florida, pursuant to the

requirements of 28 U.S.C. § 1446(d).

                                                     HOLLAND             IGHT LLP


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                                 CERTIFICATE OF SERVICE

          I hereby certify that the foregoing document was served via U.S. Mail on this   J^da,
of September, 2010, on the following:

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